
636 S.E.2d 196 (2006)
STATE of North Carolina
v.
Michael Anthony STARKEY.
No. 271P06.
Supreme Court of North Carolina.
August 17, 2006.
Christopher W. Brooks, Assistant Attorney General, C. Branson Vickory, III, District Attorney, for State of NC.
Benjamin Dowling-Sendor, Assistant Appellate Defender, for Michael A. Starkley.

ORDER
Upon consideration of the petition filed by Attorney General on the 18th day of May 2006 in this matter for a writ of certiorari to review the order of the Superior Court, Lenoir County, the following order was entered and is hereby certified to the Superior Court of that County:
"Denied by order of the Court in conference, this the 17th day of August 2006."
Upon consideration of the petition filed by Attorney General on the 18th day of May *197 2006 in this matter for a writ of certiorari to review the decision and order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 17th day of August 2006."
